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                            No. 22-30333

In the United States Court of Appeals for the Fifth Circuit
                       PRESS ROBINSON, et al.
                                        Plaintiffs - Appellees
                                  v.
KYLE ARDOIN, et al. in his official capacity as Secretary of State for
                             Louisiana,
                                        Defendant-Appellant,

                                 and
                    CLAY SCHEXNAYDER, et al. ,
                                    Intervenor-Defendant-Appellants,
                     _________________________

         On Appeal from the United States District Court
              for the Middle District of Louisiana
               Case Nos. 3:22-cv-211, 3:22-cv-214


               PETITION FOR REHEARING EN BANC


                    (Counsel Listed on Next page)
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           CERTIFICATE OF INTERESTED PERSONS

     Under the fourth sentence of Fifth Circuit Rule 28.2.1, movants, as

governmental parties, need not furnish a certificate of interested persons.

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       INTRODUCTION AND RULE 35(b)(1) STATEMENT

     This petition presents two issues that each independently warrant

rehearing en banc.

     First, the panel erred by finding an implied right of action for

private litigants to enforce §2 of the Voting Rights Act (“VRA”). The

Eighth Circuit recently reached the opposite conclusion. See Arkansas

State Conf. NAACP v. Arkansas Bd. of Apportionment, __ F.4th __, 2023

U.S. App. LEXIS 30756 (8th Cir. Nov. 20, 2023). The panel did not

analyze the VRA’s text and instead relied on precedent analyzing an

unrelated issue (sovereign immunity) for a different section of the VRA

(§208). That reasoning is mistaken and conflicts with the Eighth Circuit’s

thorough analysis of the VRA’s text and structure. The result of the

circuit split is an untenable scenario where a VRA claim by private

litigatns can proceed in Louisiana but not in neighboring Arkansas.

     Second, the panel failed to consider whether the district court’s

mandate for race-based state action is warranted by current

circumstances. It is well-established that the VRA “‘imposes current

burdens [that] must be justified by current needs.’” Shelby County v.

Holder, 570 U.S. 529, 536 (2013) (emphasis added) (citation omitted).


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And Justice Kavanaugh made plain in Allen v. Milligan that this applies

specifically to—and remains an open question for—redistricting under §2

of the VRA. 143 S. Ct. 1487, 1519 (2023) (Kavanaugh, J., concurring)

(“Alabama did not raise that temporal argument in this Court, and [the

Court] therefore [did] not consider it at this time.”).

     Unlike Alabama, Louisiana has raised that issue here—only for the

panel to overlook it. Given Shelby County and Justice Kavanaugh’s

Milligan concurrence, this full Court’s review is warranted. Indeed, that

issue is acutely presented here: rather than limiting the use of race-based

remedies, as the Supreme Court has instructed, the panel opinion

promotes (even mandates) escalation and intensification of race-based

decision-making     under    §2   without      justification    under    current

circumstances.

     Notably, for the first 40 years after the 1982 VRA amendments, §2

has never been construed to require Louisiana to draw a second majority-

minority district. When the Department of Justice (“DOJ”) directed the

State to do so in the 1990s, citing the more onerous standards of VRA §5,

federal courts twice struck down the resulting racial gerrymanders. Since




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then, DOJ under both Republican and Democratic administrations pre-

cleared maps with only a single majority-minority district.

     The    district   court’s   decision    thus    represents     a   dramatic

augmentation of the race-based mandates of §2—even though racially

polarized voting in Louisiana has since decreased. Put simply, if the VRA

did not require a second majority-minority district after the 1990, 2000,

and 2010 Censuses, it cannot do so now given the decrease in racial

polarization in voting over that time. But that is precisely what the panel

ratified. This departure from the bedrock principles of the Equal

Protection Clause warrants rehearing.

     Rehearing is further warranted due to the “exceptional importance”

of the issues presented, including the “conflict[] with the authoritative

decision[]” of the Eighth Circuit. Fed. R. App. P. 35(b)(1)(B). The panel’s

decision usurps the traditional role of the Louisiana Legislature in

redistricting and demands a more aggressive role of race in governmental

decision-making than current needs justify—even though the “‘core

purpose’ of the Equal Protection Clause [is] ‘doing away with all

governmentally imposed discrimination on the basis of race.’” Students

for Fair Admissions, Inc. v. President & Fellows of Harvard College, 143


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S. Ct. 2141, 2147 (2023). Before the district court engages in the “sordid

business [of] divvying us up by race,” the full Court should evaluate

whether that sordidness is required by §2 and constitutionally

permissible. LULAC v. Perry, 548 U.S. 399, 511 (2006) (Roberts, C.J.,

concurring in part). It is neither.




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                   STATEMENT OF THE ISSUES

1.   Did the panel err in holding that §2 of the VRA provides an implied

     private right of action?

2.   Did the panel err in declining to consider whether the district

     court’s mandated use of race in drawing a second majority-minority

     district comports with §2 and the Constitution—i.e., is justified by

     “‘current needs.’” Shelby County v. Holder, 570 U.S. 529, 536 (2013)

     (citation omitted).




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PROCEEDINGS, DISPOSITION, AND FACTUAL BACKGROUND

     The procedural background of this case is set forth in greater detail

in the panel’s opinion. See Robinson v. Ardoin, __ F.4th __, 2023 U.S. App.

LEXIS 30039 (5th Cir. Nov. 10, 2023). In brief: this case is a challenge

under §2 of the VRA brought by individual voters and non-profit entities

who advocate for a second majority-minority congressional district in

Louisiana. Id. at *9.

     The district court issued a preliminary injunction granting that

request as provisional relief. Id. at *11. After this Court declined to stay

that injunction, the Supreme Court intervened, issued a stay, granted

certiorari before judgment, and held the case in abeyance pending

resolution of Milligan. Id. at *11–12.

     Following Milligan, the panel resumed briefing and held oral

argument. On November 10, the panel ratified the district court’s §2

merits reasoning but vacated the injunction on the ground that it is no

longer necessary given that the 2022 elections were conducted under the

challenged plans. Id. at *14–43, 46.

     In particular, the panel (in a single paragraph) held that the VRA

contains an implied right of action by which private plaintiffs may


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enforce §2. Id. at *16 (citing OCA-Greater Houston v. Texas, 867 F.3d 604,

614 (5th Cir. 2017)). That decision reasoned that because the VRA has

been held to waive sovereign immunity for a different provision of the

VRA, §208, it must have done so for “some purpose.” Id. The panel did

not analyze the text or structure of §2 or any related VRA provision.

     The panel, moreover, did not consider the State’s argument that the

district court’s race-based reading of §2 “lacks a logical end point,” and

thereby violates the principle that “‘the authority to conduct race-based

redistricting cannot extend indefinitely into the future.’” Louisiana Supp.

Br. (Dkt. #260) at 30–31 (quoting Milligan, 143 S. Ct. at 1519

(Kavanaugh, J., concurring)).

     As noted, however, the panel concluded that “a preliminary

injunction is no longer needed to prevent an irreparable injury from

occurring before said trial” given that the 2022 elections were conducted

under the challenged plan and trial on the merits can be held before the

2024 elections. 2023 U.S. App. LEXIS 30039, at *46. It therefore vacated

the preliminary injunction.

     Ten days after the panel’s decision, the Eighth Circuit held, in a

lengthy and thorough opinion, that the VRA includes no private right of


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action to enforce §2. See Arkansas State Conf. NAACP v. Arkansas Bd. of

Apportionment, __ F.4th __, 2023 U.S. App. LEXIS 30756 (8th Cir. Nov.

20, 2023).1

     The State now petitions this Court to review en banc (1) whether

the VRA contains an implied private right of action to enforce §2 and

(2) whether §2 as applied to compel race-based governmental action here

is “justified by current needs.” Shelby County, 570 U.S. at 536 (citation

omitted).

                              ARGUMENT

I.   The Panel’s Recognition Of A Private Right of Action To
     Enforce §2 Warrants Rehearing

     At issue here is a question striking at the heart of the Constitution’s

finely calibrated separation of powers: when, if ever, may the federal

judiciary (rather than Congress) decide who may sue? VRA §2 expressly

authorizes the U.S. Attorney General to bring civil actions to enforce

enumerated VRA provisions, including §2. See 52 U.S.C. §10308(d). But

it does not expressly authorize private litigants to enforce §2. Thus,




1 The plaintiffs in Arkansas State Conference have indicated they intend
to seek rehearing en banc, and have sought an extension for that purpose.
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unless the VRA includes an implied right of action, the Plaintiffs’ §2

claims must be dismissed.

     Court-identified implied causes of action have been controversial

since Bivens.2 And in recent years, the Supreme Court has reiterated that

“private rights of action to enforce federal law must be created by

Congress.” Alexander v. Sandoval, 532 U.S. 275, 286 (2001). Because

“[s]tatutory intent ... is determinative,” implied causes of action exist

only if Congress’s “intent to create not just a private right but also a

private remedy” that is manifest from statutory “text and structure.” Id.

at 286, 288.

     The Eighth Circuit addressed this precise question, finding from

the “[t]ext and structure” of §2 “that the answer is no.” Arkansas State

Conf., 2023 U.S. App. LEXIS 30756, at *3. There, as here, “[e]veryone

agree[d] that §2 itself contains no private enforcement mechanism.” Id.

at *11. Based on Congress’s enumeration of the Attorney General as the

sole party expressly authorized to enforce §2, the Eighth Circuit reasoned

that “[t]he express provision of one method of enforcing a substantive rule


2  See, e.g., Egbert v. Boule, 142 S. Ct. 1793, 1799 (2022) (“Over the past
42 years, however, we have declined 11 times to imply a similar [Bivens-
like] cause of action for other alleged constitutional violations.”).
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suggests that Congress intended to preclude others.” Id. *12 (alteration

in original) (quoting Sandoval, 532 U.S. at 290). At bottom, the two-

pronged question that the plaintiffs in that case were unable to answer

was simply this: “If the 1965 Congress ‘clearly intended’ to create a

private right of action, then why not say so in the statute? If not then,

why not later, when Congress amended §2?” Id. at *20.

      The panel here also did not answer this question. It did not consider

Section 2’s “text and structure” at all. Sandoval, 532 U.S. at 286. The

entirety of its analysis consists of a single paragraph citing one case. 2023

U.S. App. LEXIS 30039, at *16.

      The panel’s reasoning suffers from three fatal defects. First, OCA-

Greater Houston did not address §2. Instead, it “concern[ed] a more

recent, and less visible, addition to the VRA,” §208. OCA-Greater

Houston, 867 F.3d at 607. The Voting Rights Act has many sections: some

can give rise to criminal liability (e.g., §§2, 3, 4, 5, 10), others are

enforceable in civil suits by the Attorney General (e.g., §§2, 3, 4, 5, 7, 10,

11), and only one authorizes lawsuits by private parties (§3). See 52

U.S.C. §§10302(a), 10308. When deciding the private-cause-of-action

question, the Supreme Court has consistently addressed each section on


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its own. See, e.g., Morse v. Republican Party, 517 U.S. 186, 191 (1996);

Allen v. State Bd. of Elections, 393 U.S. 544, 555 (1969). The panel’s

failure to do so conflicts with those binding precedents.

     Second, it is not clear that OCA-Greater Houston’s holding reaches

§2 at all. Any immunity waiver must be strictly construed in favor of a

sovereign and against waiver. See, e.g., Lane v. Pena, 518 U.S. 187, 192

(1996). Thus, a waiver of sovereign immunity for purposes of §208 says

nothing relevant for purposes of whether there is an implied right of

action under §2. See OCA-Greater Houston, 867 F.3d at 607. The panel

was wrong to conclude otherwise.

     Third, even if (counterfactually) OCA-Greater Houston could be

construed to address §2, it does not follow from its determination that

Congress waived sovereign immunity that Congress intended an

unenumerated private right of action. The panel reasoned that a

sovereign-immunity waiver must serve “some purpose.” Robinson, U.S.

App. LEXIS 30039, at *16. But even assuming that purposivist premise

were correct, that “some purpose” is readily satisfied for waiving

sovereign immunity for private suits under §3—which, unlike §2,




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expressly authorizes private suits. See 52 U.S.C. §10302 (authorizing

suits by “an aggrieved person”).

     Moreover, state sovereign immunity sounds in jurisdiction, see

PennEast Pipeline Co. v. New Jersey, 141 S. Ct. 2244, 2259 (2021);

whether a party has a cause of action does not, see Steel Co. v. Citizens

for a Better Env’t, 523 U.S. 83, 89 (1998) (“[T]he absence of a valid (as

opposed to arguable) cause of action does not implicate subject-matter

jurisdiction.”). Because OCA-Greater Houston only speaks to the former,

the panel erred by relying on it to resolve the latter question.

                               *       *      *

     Simply put, the Eighth Circuit’s thorough decision correctly reads

the statute’s interlacing provisions, but the panel in this case failed to

analyze §2’s “text and structure.” Sandoval, 532 U.S. at 286. The panel’s

holding thus now conflicts with the Eighth Circuit’s, and with the opinion

of at least two U.S. Supreme Court Justices, see Brnovich v. DNC, 141 S.

Ct. 2321, 2350 (2021) (Gorsuch J., joined by Thomas, J., concurring). This

issue is profoundly important as a matter of jurisprudence. Because

implying a “cause of action ‘is an extraordinary act that places great

stress on the separation of powers,” the Court has a “responsibility to


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evaluate any grounds that counsel against” doing so. Egbert, 142 S. Ct.

at 1806 n.3 (cleaned up) (citation omitted). It is equally important as a

practical matter. This split of authority creates the untenable scenario

where §2 private enforcement can occur in Louisiana, Mississippi, and

Texas, but not in neighboring Arkansas. En banc review is warranted.

II.   The Panel’s Ratification Of A Race-Based Injunction
      Unjustified By Current Circumstances Warrants Rehearing

      The panel’s analysis of whether the district court’s decision

excessively relied upon race also failed to consider a crucial aspect:

whether the current use of race-based decision-making compelled by the

district court’s reading of the VRA comports with the Fourteenth and

Fifteenth Amendments (“Reconstruction Amendments”). It is, after all,

well-established that the VRA “‘imposes current burdens and must be

justified by current needs.’” Shelby County, 570 U.S. at 536 (emphasis

added) (citation omitted).

      Put simply, even if the district court’s heavy-handed consideration

of race was constitutionally permissible when the VRA was amended in

1982, “the authority to conduct race-based redistricting cannot extend

indefinitely into the future.” Milligan, 143 S. Ct. at 1519 (Kavanaugh, J.,

concurring) (emphasis added). Whatever the appropriate time period for

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such intensive use of race in drawing districts might have been (if any),

it has now expired.

     Milligan left this question open, as Justice Kavanaugh observed:

“Alabama did not raise that temporal argument in this Court, and [the

Court] therefore [did] not consider it at this time.” Id. But Louisiana

has—and is—advancing this issue. See Louisiana Supp. Br. (Dkt. #260)

at 30-31; Louisiana Supp. Reply (Dkt. #325-1) at 23-25. And the issue is

sharply presented here: §2 is being read to compel a second majority-

minority district held to be unconstitional thirty years ago. That is a more

aggressive application of §2 than ever, even as the degree of racially

polarized voting continues to decline in the State. Thus, as the Supreme

Court has predicted the use of race will decline over time, see Milligan,

143 S. Ct. at 1519 (Kavanaugh, J., concurring), the panel decision

compels the most aggressive racial line drawing Louisiana has ever seen.

This conflict warrants rehearing en banc.

     More Aggressive Use Of Race. In the forty years between the

1982 VRA amendments and the district court’s 2022 preliminary

injunction, §2 has never been construed to require Louisiana to draw two

majority-minority districts. That was so even when the State had seven


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house seats; today it has six. In fact, DOJ directed Louisiana to create

two majority-minority districts following the 1990 census, but federal

courts twice found those districts unconstitutional racial gerrymanders.

See Hays v. Louisiana (“Hays I”), 839 F. Supp. 1188 (W.D. La. 1993),

vacated as moot, 512 U.S. 1230 (1994) (mem); Hays v. Louisiana (“Hays

IV”), 936 F. Supp. 360 (W.D. La. 1996) (not appealed). It was clear even

then that a second majority-minority district “embrace[d] considerably

more racial gerrymandering—and thus more segregation—than [was]

needed to satisfy any advanced state interest.” Hays I, 839 F. Supp. at

1209. The three-judge court in Hays IV thus affirmatively imposed a map

on the State with a single majority-minority district as a remedy for the

unlawful two-district map. 936 F. Supp. at 372.

     Louisiana did not attempt to draw a second district in either its

post-2000 and post-2010 redistricting plans, and both obtained pre-

clearance from DOJ under Republican and Democratic administrations

as satisfying the VRA. The correctness of that bipartisan conclusion was

sufficiently apparent that no one challenged the post-2000 and post-2010

maps under §2, recognizing the untenability of compelling a second

majority-minority district.


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     That all changed last year. The district court abruptly read §2 to

compel substantially greater use of race in drawing districts—doubling

the number of majority-minority districts in Louisiana. And while the

district court relied on the mushy language of Gingle’s muddy standards,

the upshot is clear: under its approach, §2 creates a one-way ratchet in

which the number of majority-minority districts will continue to increase

inexorably at least until demographic proportionality is reached—even

though §2(b) expressly prohibits any proportionality standard.3 See 52

U.S.C. §10301(b) (“[N]othing in this section establishes a right to have

members of a protected class elected in numbers equal to their proportion

in the population.”). Moreover, while “[i]t is a sordid business, this

divvying us up by race.” LULAC, 548 U.S. at 511 (Roberts, C.J.,

concurring in part), the the panel’s decision makes it the law of the

Circuit.

     The panel-backed gloss on §2 thus exceeds Congress’s enforcement

powers under the Reconstruction Amendments by not only upholding



3 A §2 case is currently being tried to the same district court where the
plaintiffs demand nine new legislative majority-minority districts—
which is even greater than the strict proportionality that §2(b) prohibits.
Nairne et al v. Ardoin, 3:22-cv-00178-SDD-SDJ (M.D. La.).
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“race-based redistricting … extend[ing] indefinitely into the future,”

Milligan, 143 S. Ct. at 1519 (Kavanaugh, J., concurring), but also by

endorsing an ever-more-aggressive use of race-based decision-making.

Under the panel’s approach, §2 in 2022 and 2023 compels what the same

provision and the Fourteenth Amendment prohibited in 1993 and 1996.

     The panel’s construction of §2 thus exceeds Congress’s enforcement

powers under the Reconstruction Amendments and violates the

Constitution. At a bare minimum, §2 under the panel’s reading invites

severe constitutional doubts that should have compelled the panel to

adopt a narrower interpretation. See, e.g., Gomez v. United States, 490

U.S. 858, 864 (1989) (“It is our settled policy to avoid an interpretation of

a federal statute that engenders constitutional issues if a reasonable

alternative interpretation poses no constitutional question.”).

     By failing to recognize any temporal limitations on §2, and instead

blessing increasingly severe, crude, and perpetual uses of race, the

panel’s decision warrants rehearing en banc.

     Diminished Justification For Race-Based Remedies Under

§2. The panel decision is even more problematic when considered against

the context of developments in the past forty years. Specifically, voting


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in Louisiana has become less racially polarized—thus decreasing the

justification for intrusive §2 remedies, rather than inviting the district

court’s amplification of them. As even Plaintiffs’ own experts recognized,

cross-over voting by white voters has increased substantially such that

minority candidates can be elected in districts with Black Voting Age

Population (“BVAP”) percentages in the 40s. See ROA.6370–72; 6247–48;

see also ROA.1854; ROA.1858; ROA.1865–66. This decrease in racial

polarization necessarily decreases the justification for §2 to impose race-

based line-drawing as a putative remedy for racially polarized voting. But

the district court and the panel went in the opposite direction: while

polarization has decreased since 1993 and 1996, when federal courts

twice invalidated two-majority-minority-district maps under §2, that

decreased polarization somehow demands a second district now. None of

this is constitutionally tenable. See also Shelby County, 570 U.S. at 536

(recognizing that the VRA “‘imposes current burdens and must be

justified by current needs’” (emphasis added) (citation omitted)).

     The panel and district court are not alone in committing these

errors though: mandating intensified and ever-cruder uses of race under

§2 is becoming pervasive throughout the country. For example, the


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Western District of Washington recently held that a district that was

“approximately 51.5%” Hispanic, which elected a Hispanic Republican

over a White Democrat by a thirty-five-point margin in 2022, somehow

violated §2. See Soto Palmer v. Hobbs, __ F. Supp. 3d __, 2023 U.S. Dist.

LEXIS 139893, at *37 (W.D. Wash. Aug. 10, 2023) (holding that a district

that was “slightly more than 50% [Hispanic] [wa]s insufficient to provide

equal electoral opportunity”). Similarly, the Northern District of Georgia

recently mandated that Georgia draw as many as five additional

majority-minority districts for the state legislature. See generally Alpha

Phi Alpha Fraternity v. Raffensperger, __ F. Supp. 3d __, 2023 U.S. Dist.

LEXIS 192080 (N.D. Ga. Oct. 26, 2023). The panel’s opinion invites

similar race-based mischief in this Circuit.

     This Court should correct the panel’s failure to address this crucial

“current needs” issue by rehearing en banc.

III. The Issues Presented Are Exceptionally Important

     Rehearing en banc is further supported by the “exceptional

importance” of the issues presented. Fed. R. App. P. 35. Rule 35(b)(1)(B)

recognizes that a “panel decision conflict[ing] with the authoritative

decisions of other United States Courts of Appeals” is one basis for en


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banc review. And the panel’s private-cause-of-action holding squarely

conflicts with the Eighth Circuit’s decision on the identical issue.

     The    importance    of   the   issues      presented     here    is   further

demonstrated by the fact that the panel’s decision will compel the

redrawing of Congressional Districts in Louisiana and usurp the

Louisiana Legislature’s traditional and sovereign prerogative of drawing

districts itself. Indeed, the State is “seriously and irreparably harm[ed]”

by the panel’s affirmance of an order “barring the State from conducting

[next] year’s elections pursuant to a statute enacted by the Legislature.”

Abbott v. Perez, 138 S. Ct. 2305, 2324 (2018). Preventing such sovereign

irreparable injury warrants rehearing.

     The Supreme Court has further recognized the enormous

importance of the issues presented here when it stayed the district court’s

decision pending appeal after this Court refused to do so and further

granted certiorari before judgment. See Ardoin v. Robinson, 142 S. Ct.

2892 (2022). In doing so, the Supreme Court necessarily recognized that

this case was of “imperative public importance,” S. Ct. R. 11—thus easily

satisfying the less stringent standards of Rule 35.




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        This case is also of exceptional importance because the panel’s

decision will compel district courts in this Ciruit to make ever-greater

use of race in drawing districts—even though the “‘core purpose’ of the

Equal Protection Clause [is] ‘doing away with all governmentally

imposed discrimination on the basis of race.’” Students for Fair

Admissions, 143 S. Ct. at 2147 (cleaned up) (citation omitted).

Compelling the State to take actions in severe tension with—if not

violation of—the Equal Protection Clause is an issue of exceptional

importance. And this Court has recognized as much by its recent grant of

rehearing en banc in Petteway v. Galveston County, Texas, No. 23-40582

(5th Cir. Nov. 28, 2023). Rehearing en banc is even more appropriate

here.

                              CONCLUSION

        For these reasons, the Court should grant the State’s petition to

rehear this case en banc.




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December 1, 2023                             Very respectfully submitted,
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                       CERTIFICATE OF SERVICE

      I certify that on December 1, 2023, I filed this petition for rehearing

en banc with the Court’s CM/ECF system, which will automatically send

an electronic notice of filing to all counsel of record.

                                              /s/ Jason B. Torchinsky
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                 CERTIFICATE OF COMPLIANCE

     Pursuant to Fifth Circuit Rule 32.3, the undersigned certifies that

this brief complies with:

     (1) the type-volume limitations of Federal Rule of Appellate

Procedure 35(b)(2) because it contains 3,769 words, excluding the parts

of the brief exempted by Rule 32(f); and

     (2) the typeface requirements of Rule 32(a)(5) and the type-style

requirements of Rule 32(a)(6) because it has been prepared in a

proportionally spaced typeface (14-point Century Schoolbook) using

Microsoft Word 2016 (the same program used to calculate the word

count).

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December 1, 2023




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                                                                   November 10, 2023
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                             ____________
                                                                          Clerk

Press Robinson; Edgar Cage; Dorothy Nairne; Edwin
Rene Soule; Alice Washington; Clee Earnest Lowe;
Davante Lewis; Martha Davis; Ambrose Sims; National
Association for the Advancement of Colored People
Louisiana State Conference, also known as NAACP; Power
Coalition for Equity and Justice,

                                                         Plaintiffs—Appellees,

                                   versus

Kyle Ardoin, in his official capacity as Secretary of State for Louisiana,

                                                       Defendant—Appellant,

Clay Schexnayder; Patrick Page Cortez; State of
Louisiana - Attorney General Jeff Landry,

                                            Intervenor Defendants—Appellants,


______________________________


Edward Galmon, Sr.; Ciara Hart; Norris Henderson;
Tramelle Howard,

                                                         Plaintiffs—Appellees,

                                   versus
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Kyle Ardoin, in his official capacity as Secretary of State for Louisiana,

                                                       Defendant —Appellant,

Clay Schexnayder; Patrick Page Cortez; State of
Louisiana - Attorney General Jeff Landry,

                                          Movants—Appellants.
                ______________________________

                Appeal from the United States District Court
                    for the Middle District of Louisiana
                  USDC Nos. 3:22-CV-211, 3:22-CV-214
                ______________________________

Before King, Elrod, and Southwick, Circuit Judges.
Leslie H. Southwick, Circuit Judge:
       Plaintiffs challenge the Louisiana Legislature’s 2022 redistricting map
for electing the state’s six members of the United States House of Represent-
atives. The district court preliminarily enjoined use of that map for the 2022
congressional elections. The United States Supreme Court stayed that in-
junction, pending resolution of a case involving Alabama’s congressional re-
districting plan. About a year later, the Supreme Court resolved the Alabama
case. We now apply the Court’s reasoning to the Louisiana redistricting.
       We are reviewing the grant of a preliminary injunction and not a final
judgment in this case. The district court did not clearly err in its necessary
fact-findings nor commit legal error in its conclusions that the Plaintiffs were
likely to succeed on their claim that there was a violation of Section 2 of the
Voting Rights Act in the Legislature’s planned redistricting. Nevertheless,
the district court’s 2022 preliminary injunction, issued with the urgency of
establishing a map for the 2022 elections, is no longer necessary. After oral




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argument, we are convinced the parties can proceed beyond the stage of a
preliminary injunction to accomplish the following tasks.
       We will allow the Louisiana Legislature time to consider enacting a
new congressional redistricting plan before the district court proceeds with
the merits of the case. It is true the State did not request such an opportunity
in its briefing here, but an opportunity to adopt a new plan is appropriate
since redistricting is a quintessential obligation of a state after a census. Fur-
ther, in recent filings with the Supreme Court, the State did urge allowing the
Legislature to act. The district court is not to conduct any proceedings on
the merits of the claim until after the Louisiana Legislature concludes its con-
sideration of adopting a new plan, or the district court is informed that no
new plan will be considered, or January 15, 2024, whichever comes first. The
district court will also have discretion to grant limited additional time if re-
quested.
       The present uncertainty of what will occur by January 15 leaves the
next steps contingent. If the Legislature adopts a new plan, then proceedings
in district court can begin immediately after that occurs. If the Plaintiffs ob-
ject to the plan, then the district court will again need to consider whether
the plan is consistent with Section 2 of the Voting Rights Act or, instead,
whether another preliminary injunction is needed. On the other hand, as
soon as it becomes clear there will be no new plan to consider, the district
court should proceed beyond the preliminary injunction stage for review of
H.B. 1. It should conduct a trial on the merits of the validity of the plan, and,
if held to be invalid, decide on a plan for the 2024 elections.
       At oral argument before this court, defense counsel suggested a Feb-
ruary 15, 2024, start date for a trial on the merits to allow newly elected offi-
cials to play an effective role in the process. He additionally suggested a May
30 deadline for a new map to be drawn, approved, and enacted for the 2024




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elections. We mention those only to indicate the State has offered sugges-
tions. The district court will need to make its own decision on the proper
scheduling. The court is to conclude all necessary proceedings in sufficient
time to allow at least initial review by this court and for the result to be used
for the 2024 Louisiana congressional elections.
            PROCEDURAL AND FACTUAL BACKGROUND
       All states must redraw their congressional district boundaries follow-
ing each decennial census. U.S. Const. art. I, § 2, cl. 3. The 2020 census
showed Louisiana’s population had increased since 2010, especially the mi-
nority populations. This census data was delivered in April 2021 and re-
vealed that Louisiana would continue to have six congressional seats. Robin-
son v. Ardoin, 605 F. Supp. 3d 759, 767 (M.D. La. 2022).
       At its 2021 regular session, the Louisiana Legislature adopted Rule 21
of the Joint Rules of the Senate and House of Representatives, which estab-
lished redistricting criteria. 1 The first paragraph of the Rule states: “To pro-
mote the development of constitutionally and legally acceptable redistricting
plans, the Legislature of Louisiana adopts the criteria contained in this Joint
Rule, declaring the same to constitute minimally acceptable criteria for con-
sideration of redistricting plans in the manner specified in this Joint Rule.”
La. Leg. J.R. 21A. The district court considered the requirements of the Joint
Rule throughout its opinion granting the preliminary injunction.
        In preparation for its redistricting session, the Legislature held public
meetings throughout the state, starting in October 2021 and ending in Janu-
ary 2022. The meetings presented information about the redistricting pro-
cess and solicited public comment. Robinson, 605 F. Supp. 3d at 767.
       _____________________
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          Joint Rule 21 was adopted by the approval of H. Con. Res. 90, 2021 Reg. Sess.,
eff. June 11, 2021. See http://legis.la.gov/legis/Law.aspx?d=1238755.




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Legislators stated these meetings were “absolutely vital to this process.” Id.
The parties refer to these as the “roadshow” meetings. Id. The Legislature
then convened in an extraordinary session on February 1, 2022, to begin the
redistricting process. Id. at 767–68. House Bill 1 and Senate Bill 5 were iden-
tical bills that set forth a congressional district map for the 2022 election. Id.
at 768. Each was passed in its respective chamber on February 18, 2022. Id.
“[T]he congressional districts in the 2022 enacted plan strongly resemble the
previous districts” the Legislature adopted in 2011. Id. at 796. The Second
Congressional District remained the only one of the six with a black majority.
Id. at 768.
       On March 9, 2022, Louisiana Governor John Bel Edwards separately
vetoed H.B. 1 and S.B. 5. Governor’s Veto Letters to Speaker of the House
and President of the Senate, reprinted in 2022 OFFICIAL JOURNAL AND LEG-
ISLATIVE CALENDAR OF THE PROCEEDINGS OF THE HOUSE OF REPRESENT-
ATIVES AND SENATE OF THE STATE OF LOUISIANA, 48TH EXTRAORDINARY
SESSION AND 2ND VETO SESSION, at 188–89, 194–95 (2022). He wrote each
chamber “that this map violates Section 2 of the Voting Rights Act of 1965
and further is not in line with the principle of fundamental fairness that
should have driven this process.” Id. Governor Edwards applauded pro-
posed maps that would have created two majority-black districts. Id. On
March 30, 2022, the Legislature overrode Governor Edwards’s veto of H.B.
1, and the map became law. Id. at 189 (House); 195 (Senate).
       The same day the veto of H.B. 1 was overridden, two separate Plaintiff
groups filed complaints against Louisiana Secretary of State Kyle Ardoin in
district court, alleging the enacted map diluted black voting strength. Robin-
son, 605 F. Supp. 3d at 768. The Plaintiffs claimed that the majority of black
voters were “packed” into the single black-majority district, and the remain-
ing were “cracked” among the other five districts. Id. They argued this
caused the black voters to be sufficiently outnumbered so as to ensure



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unequal participation in the voting process, id., and Louisiana was required
under the Voting Rights Act to create a second black-majority district. Rob-
inson v. Ardoin, 37 F.4th 208, 215 (5th Cir. 2022).
       After the complaints were filed, Patrick Page Cortez, President of the
Louisiana State Senate; Clay Schexnayder, Speaker of the Louisiana House
of Representatives; and Louisiana Attorney General Jeff Landry all moved to
intervene as Defendants. Robinson, 605 F. Supp. 3d at 768–69. The Louisi-
ana Black Caucus was also allowed to intervene. Id. at 769. The district court
then consolidated the two suits. Id.
       The Plaintiffs filed motions for a preliminary injunction on April 15,
2022. The Plaintiffs sought to enjoin Secretary Ardoin from utilizing the en-
acted map in the 2022 congressional elections, to set a deadline for the Leg-
islature to enact a Section 2-compliant map, and, if the Legislature failed to
do so, to order the November 2022 election be conducted under one of the
illustrative plans proposed by the Plaintiffs.
       The district court conducted an expedited five-day evidentiary hear-
ing on the preliminary injunction in May 2022. Id. Mere days before the
hearing was to begin, Attorney General Landry had filed an emergency mo-
tion with the district court, arguing the court should wait for the Supreme
Court’s decision in the Alabama congressional redistricting case on which a
writ of certiorari had been granted on February 7, 2022. See Merrill v. Milli-
gan, 142 S. Ct. 879 (2022). The motion alleged that the decision was “likely
to substantially affect or be fully dispositive” of this case. The district court
denied the motion, reasoning that “[t]he blow to judicial economy and prej-
udice to Plaintiffs that would result from granting the moved-for stay cannot
be justified by speculation over future Supreme Court deliberations.”
       Following the five-day evidentiary hearing, the district court issued a
99-page Ruling and Order granting the Plaintiffs’ motions for a preliminary




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injunction. Robinson, 605 F. Supp. 3d 759. The district court concluded that
the Plaintiffs had carried their burden to show “that (1) Louisiana’s black
population is sufficiently large and compact to form a majority in a second
district, (2) the black population votes cohesively, and (3) whites tend to vote
as a bloc usually to defeat black voters’ preferred candidates.” Robinson, 37
F.4th at 215–16 (citing Thornburg v. Gingles, 478 U.S. 30, 50–51 (1986)). The
district court gave the Legislature until June 20, 2022, to enact a remedial
plan for the November 2022 election. Id. at 216. Governor Edwards called a
special session of the Legislature to begin on June 15, 2022, but urged that
“further action of the legislature should be delayed until the Fifth Circuit can
review the merits.” Id. at n.1.
       The State appealed the district court’s decision. It also filed a motion
with the district court to stay the preliminary injunction pending resolution
of the appeal by this court. The district court denied the stay. The State then
filed for a stay by this court. After granting a brief administrative stay, this
court denied the State’s motion for a stay pending appeal. Robinson, 37 F.4th
at 232. The court determined that the State had failed to make a “strong
showing” of likely success on the merits, and that, further, Purcell v. Gonza-
les, 549 U.S. 1 (2006) (per curiam), did not prevent the injunction from being
effective. Robinson, 37 F.4th at 215.
       On June 17, Attorney General Landry filed an application for a stay
with the Supreme Court. Ardoin v. Robinson, 142 S. Ct. 2892 (2022). The
Court treated the stay application as a petition for a writ of certiorari, granted
it, and then ordered the case held in abeyance pending resolution of the Ala-
bama congressional redistricting case. Id. Argument in that Alabama case
was heard in November 2022, and an opinion was released in June 2023. Al-
len v. Milligan, 599 U.S. 1 (2023). The Supreme Court then dismissed as
improvident its grant of a writ of certiorari in the case now before us, vacated
its stay, and remarked that “[t]his will allow the matter to proceed before the



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Court of Appeals for the Fifth Circuit for review in the ordinary course and
in advance of the 2024 congressional elections in Louisiana.” Ardoin v. Rob-
inson, 143 S. Ct. 2654 (2023).
       We received supplemental briefing prior to oral argument. In addi-
tion, a separate panel of this court issued a writ of mandamus in October
2023, blocking proceedings in district court regarding the preliminary injunc-
tion. In re Landry, 83 F.4th 300 (5th Cir. 2023). Though a merits panel is
not controlled by an earlier motions panel decision, we agree with the ruling
that the Louisiana Legislature has time to create its own remedial plan. Our
decision will give the Legislature an opportunity to act or to inform the dis-
trict court that it will not.
                                 DISCUSSION
       We review a grant of a preliminary injunction by a district court for
any abuse of discretion. Women’s Med. Ctr. of Nw. Hous. v. Bell, 248 F.3d 411,
418–19 (5th Cir. 2001). A preliminary injunction is an extraordinary remedy
that will only be issued if a movant establishes four elements:
       (1) a substantial likelihood of success on the merits, (2) a substantial
       threat of irreparable injury if the injunction is not issued, (3) that the
       threatened injury if the injunction is denied outweighs any harm that
       will result if the injunction is granted, and (4) that the grant of an in-
       junction will not disserve the public interest.
Byrum v. Landreth, 566 F.3d 442, 445 (5th Cir. 2009).
       Each of these four elements presents “a mixed question of fact and
law.” Women’s Med. Ctr., 248 F.3d at 419. The district court’s legal conclu-
sions are reviewed de novo, and its factual findings for clear error. Id. A fac-
tual finding is clearly erroneous when the reviewing court is “left with the
definite and firm conviction,” after reviewing the entire record, that the




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district court erred. NAACP v. Fordice, 252 F.3d 361, 365 (5th Cir. 2001)
(quotation marks and citations omitted).
           The State raises three issues on appeal which we discuss in this order.
      I.      There is no private right of action under Section 2 of the Voting
              Rights Act.
     II.      The Plaintiffs did not clearly establish a likelihood of proving that
              Louisiana’s congressional districts violate Section 2 of the Voting
              Rights Act.
           In its supplemental briefing following the Milligan decision, the State
makes four arguments that we consider sub-issues of the second issue:
                  A. The Plaintiffs’ illustrative maps did not satisfy the first Gin-
                      gles precondition.
                  B. The Plaintiffs’ illustrative maps are improper racial gerry-
                      manders where race predominates.
                  C. The Plaintiffs’ illustrative maps did not satisfy the third
                      Gingles precondition.
                  D. Proportionality is an improper factor to consider in a Gin-
                      gles analysis.
    III.      The equities did not warrant a mandatory injunction, and, in light
              of the fact that the 2022 election has been held, the injunction is
              moot.
      I.      Private right of action under Section 2 of the Voting Rights Act.
           The parties dispute whether Section 2 can be enforced by private par-
ties such as the Plaintiffs here. Whether Section 2 provides for a private right
of action is a legal issue of statutory interpretation that we review de novo. See
Carder v. Cont’l Airlines, Inc., 636 F.3d 172, 174 (5th Cir. 2011).




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       There is no cause of action expressly created in the text of Section 2.
A plurality of the Supreme Court stated that “the existence of the private
right of action under Section 2 . . . has been clearly intended by Congress
since 1965.” Morse v. Republican Party of Va., 517 U.S. 186, 232 (1996) (plu-
rality opinion) (citations omitted). The Court acknowledged its prior con-
sideration of Section 2 violations brought by private litigants. Id. (citing Chi-
som v. Roemer, 501 U.S. 380 (1991); Johnson v. De Grandy, 512 U.S. 997
(1994)). More recently, the Court remarked that “the Federal Government
and individuals have sued to enforce § 2, and injunctive relief is available in
appropriate cases to block voting laws from going into effect.” Shelby Cnty.
v. Holder, 570 U.S. 529, 537 (2013) (citations omitted).
       At least two justices have expressed concern, perhaps even doubt,
about a private right. Dissenting in the Milligan decision that led to this re-
mand, Justice Thomas referred in a footnote to the fact that the majority de-
clined to “address whether § 2 contains a private right of action, an issue that
was argued below but was not raised in this Court.” Milligan, 599 U.S. at 90
n.22 (Thomas, J., dissenting). The footnote was appended to a protest that
the majority “dismisses grave constitutional questions with an insupportably
broad holding based on demonstrably inapposite cases.” Id. at 90. Similarly,
Justice Gorsuch wrote a separate concurrence in another case, joined by Jus-
tice Thomas, solely to “flag” that the Court’s “cases have assumed — with-
out deciding — that the Voting Rights Act of 1965 furnishes an implied right
of action under § 2.” Brnovich v. Democratic Nat’l Comm., 141 S. Ct. 2321,
2350 (2021) (Gorsuch, J., concurring).
       There has not been frequent need in the circuit courts to analyze the
issue. The Sixth Circuit once held without any analysis that Section 2 con-
veys a private right of action. See Mixon v. Ohio, 193 F.3d 389, 406 (6th Cir.
1999). The Eleventh Circuit discussed the issue at length and also concluded
there was a private right of action under Section 2. Alabama State Conf. of



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NAACP v. Alabama, 949 F.3d 647, 651–54 (11th Cir. 2020), cert. granted,
opinion vacated, and case dismissed as moot, 141 S. Ct. 2618 (2021). The vaca-
tion of that opinion raises some questions about its analysis, but the reason
for vacating was mootness. A dissenting Eleventh Circuit judge argued that
the Voting Rights Act had not abrogated state sovereign immunity. Alabama
State Conf., 949 F.3d at 662 (Branch, J., dissenting). In her dissent, Judge
Branch rejected one of our precedents — binding on this panel, of course —
in which we held that the Voting Rights Act had validly abrogated state sov-
ereign immunity. Id. (discussing OCA-Greater Houston v. Texas, 867 F.3d
604, 614 (5th Cir. 2017)).
           We consider most of the work on this issue to have been done by our
OCA-Greater Houston holding that the Voting Rights Act abrogated the state
sovereign immunity anchored in the Eleventh Amendment. Congress should
not be accused of abrogating sovereign immunity without some purpose. The
purpose surely is to allow the States to be sued by someone. One section of
the Act provides that proceedings to enforce voting guarantees in any state
or political subdivision can be brought by the Attorney General or by an “ag-
grieved person.” 52 U.S.C. § 10302. We conclude that the Plaintiffs here
are aggrieved persons, that our OCA-Houston decision has already held that
sovereign immunity has been waived, and that there is a right for these Plain-
tiffs to bring these claims.
     II.      Plaintiffs’ likelihood of proving that Louisiana’s congressional districts
              violate Section 2 of the Voting Rights Act.
           The State challenges the district court’s determination that the Plain-
tiffs established a likelihood of proving a violation of Section 2 of the Voting
Rights Act on the merits. The State argues that the preliminary injunction,
issued in advance of the 2022 congressional elections, is now moot. We will
consider the mootness issue in the final section of the opinion. We state now




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that we will hold it is not moot but also is unnecessary at this point because
the balance of the equities has changed.
       Under the first preliminary injunction element, the Plaintiffs were re-
quired to establish they had a substantial likelihood of success on the merits
of their Section 2 claim. Byrum, 566 F.3d at 445. Section 2 claims are evalu-
ated under the three-part Gingles framework. Milligan, 599 U.S. at 17. “The
essence of a § 2 claim is that a certain electoral law, practice, or structure
interacts with social and historical conditions to cause an inequality in the
opportunities enjoyed by black and white voters to elect their preferred rep-
resentatives.” Gingles, 478 U.S. at 47.
       To succeed in proving a Section 2 vote dilution claim, plaintiffs must
first satisfy three preconditions. Milligan, 599 U.S. at 18. “First, the minor-
ity group must be sufficiently large and geographically compact to constitute
a majority in a reasonably configured district.” Id. (quotation marks and ci-
tations omitted). A district is reasonably configured when it complies “with
traditional districting criteria, such as being contiguous and reasonably com-
pact.” Id. Second, the minority group must be politically cohesive. Id.
Third, the white majority must be shown to vote sufficiently as a bloc to usu-
ally defeat the minority-preferred candidate. Id. If a plaintiff fails to establish
any one of these three preconditions, a court need not consider the other two,
leaving the plaintiff with no remedy. League of United Latin Am. Citizens v.
Perry, 548 U.S. 399, 425 (2006) [hereinafter LULAC].
       Once these three threshold conditions are established, a plaintiff then
must “show, under the totality of the circumstances, that the political pro-
cess is not equally open to minority votes,” causing a Section 2 violation.
Milligan, 599 U.S. at 18 (quotation marks and citations omitted). Courts




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consider what are sometimes called the Zimmer factors 2 to guide this portion
of the analysis. League of United Latin Am. Citizens, Council No. 4434 v. Clem-
ents, 999 F.2d 831, 849 (5th Cir. 1993). Courts must determine whether
plaintiffs have an equal opportunity in the voting process to elect their pre-
ferred candidate under the challenged districting map. Gingles, 478 U.S. at
44. If the answer is no, there likely is a Section 2 violation.
        The State does not challenge the second Gingles precondition, so we
discuss only the other preconditions and the totality of the circumstances.
                 A. The first Gingles precondition.
        The first Gingles precondition focuses on geographical compactness
and numerosity. Milligan, 599 U.S. at 18. It establishes whether a minority
population has the potential to elect its preferred candidate in a single-mem-
ber district. Id. The “party asserting § 2 liability must show by a preponder-
ance of the evidence that the minority population in the potential election
district is greater than 50 percent.” Bartlett v. Strickland, 556 U.S. 1, 19–20
(2009). This percentage is analyzed in terms of the black voting-age popula-
tion (“BVAP”) because only eligible voters can affect the Gingles analysis.
Robinson, 605 F. Supp. 3d at 776. The large minority population must also be
sufficiently compact such that a reasonably compact majority-minority dis-
trict can be drawn. LULAC, 548 U.S. at 433. The State does not contest



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          The United States Senate, in its 1982 Voting Rights Act amendments report,
referred to the factors identified in this court’s decision in Zimmer v. McKeithen, 485 F.2d
1297 (5th Cir. 1973), aff’d sub nom. E. Carroll Par. Sch. Bd. v. Marshall, 424 U.S. 636 (1976),
rev’d and remanded sub nom. Marshall v. Edwards, 582 F.2d 927 (5th Cir. 1978). See Report,
Voting Rights Extension, S.R. Rep. 97-417 (1982), 23, 28-29, reprinted in 13449 U.S.
CONG. SERIAL SET (1982). In 1986, the Gingles Court adopted those factors and a few
others to consider in vote-dilution cases. Gingles, 478 U.S. at 36 n.4.




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numerosity, so we analyze only whether the illustrative map was sufficiently
compact.
       Compactness under Section 2 is an imprecise concept, but traditional
districting principles like maintaining communities of interest and traditional
boundaries should be considered. Id. Communities of interest vary between
states, generally defined by the given state’s districting guidelines. See Milli-
gan, 599 U.S. at 20–21. Here, the district court recognized there was no uni-
versal definition for “community of interest” in Louisiana, and the Louisiana
Legislature did not define what exactly comprises a community of interest.
Robinson, 605 F. Supp. 3d at 776, 828. In Milligan, the Supreme Court exam-
ined the illustrative district maps when deciding whether a “reasonably con-
figured” second majority-black district could be formed. Milligan, 599 U.S.
at 19–20. The Court found that some of the illustrative maps produced dis-
tricts at least as compact as the State’s plan. Id. at 20. The Court concluded
that “some of plaintiffs’ proposed maps split the same number of county
lines as (or even fewer county lines than) the State’s map.” Id. (emphasis in
original). In addition, there were no “tentacles, appendages, bizarre shapes,
or any other obvious irregularities that would make it difficult to find” com-
pactness. Id. (quoting Singleton v. Merrill, 582 F. Supp. 3d 924, 1011 (N.D.
Ala. 2022)).
       Courts must also determine if the illustrative districts have similar
needs and interests beyond race. LULAC, 548 U.S. at 435. The State insists
the Plaintiffs’ proposed districts are not reasonably configured because they
are based solely on race rather than a community of interest. Each illustrative
plan connects the Baton Rouge area and St. Landry Parish with the Delta
Parishes far to the north along the Mississippi River. The State argues the
two areas’ only connection is race. It seems undisputed that unless the part
of the Baton Rouge area that is majority black is combined with the Delta
Parishes to the north, creating a second black-majority district would be



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difficult. The State contends this proves the Plaintiffs were operating under
the “prohibited assumption” that a “group of voters’ race [means] that they
think alike, share the same political interests, and will prefer the same candi-
dates at the polls.” Id. at 433.
       The State also argues the district court made no finding of common
interests. The Plaintiffs demographic experts effectively admitted no com-
munity of interest exists; and the Legislature arrived at its districting plan
based on resident concerns and its own analysis. The “sprawling size and
diversity” of the joined communities in the Plaintiffs’ maps allegedly exem-
plify expansiveness, not compactness.
       The Plaintiffs contend, however, that the district court was correct
that the compactness analyzed in the first Gingles precondition is the com-
pactness of the minority population, not the contested district. Certainly, Milli-
gan states that the first Gingles precondition is that the “minority group must
be sufficiently large and [geographically] compact to constitute a majority in
a reasonably configured district.” Milligan, 599 U.S. at 18 (quoting Wisconsin
Legislature v. Wisconsin Elections Comm’n, 142 S. Ct. 1245, 1248 (2022) (per
curiam)). The district court heard extensive expert and lay witness testi-
mony from the Plaintiffs witnesses explaining how the Baton Rouge area and
the Delta Parishes are communities of interest. Robinson, 605 F. Supp. 3d at
778–97, 822–31. In its determination, the district court credited this testi-
mony that Louisiana’s black population is compacted into easily definable ar-
eas; the illustrative plans offered by the Plaintiffs were more compact on av-
erage than the enacted plan both mathematically and visually; and the illus-
trative plans split very few parishes and political subdivisions. Id. at 822–31.
       The State asserts that the Legislature identifies the communities of
interest, not the courts or parties, and “[t]he Legislature did not arrive at its
community goals in a vacuum.” The Legislature, the State argues, did not




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intend to combine urban and rural areas differing in poverty, education,
household income, economic, and other interests into one district with only
one common index: race. Splitting these already enacted communities of in-
terest and the sheer distance — 180 miles — between the illustratively joined
communities negates the possibility of a community of interest when com-
bining the districts into one.
        The district court found, though, that the State offered no evidence as
to what the Louisiana Legislature identified as communities of interest. Id.
at 829. The State produced no witness testimony concerning communities
of interest. Id. The district court concluded this was “a glaring omission”
since Joint Rule 21 requires communities of interest to be prioritized over the
preservation of political subdivisions. Id.; La. Leg. J.R. 21. Instead, the State
relied on the legislative comments made during the districting plan’s enact-
ment and ignored the witnesses who testified to the commonalities between
the areas and communities utilized in the Plaintiffs’ illustrative districting
plans. 3 Id.
        Somewhat similar arguments were rejected by the Supreme Court in
Milligan, where no clear error existed in separating the district formed after
the 2010 census in the region along Alabama’s Gulf Coast into two different
districts. Milligan, 599 U.S. at 20–21. Both the Supreme Court and the Ala-
bama district court found testimony by the same expert used in this case sup-
porting one community of interest as “partial, selectively informed, and
poorly supported.” Id. at 21 (quoting Merrill, 582 F. Supp. 3d at 1015).
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          The State does not argue for reversal on the basis that it was given inadequate
time to prepare its case prior to the issuance of the preliminary injunction. It did make that
argument to the panel that granted a mandamus stopping the scheduling of a hearing on a
remedy for the preliminary injunction. In re Landry, 83 F.4th at 305. The issue not having
been raised with us, we do not consider it. We are ordering that the district court now
conduct a trial, allowing any deficiencies in the 2022 hearing to be corrected.




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Similarly, here, the State asserts that the Legislature intended to keep the
communities separate, lay testimony at roadshows clearly supported the con-
stituency support of the enacted plan, and there was no need to combine
clearly distinct urban and rural communities of interest.
       The district court determined that these illustrative districts share
many cultural, economic, social, and educational ties despite the distance and
distinct community identities. Robinson, 605 F. Supp. 3d at 786–97, 828–31.
There was unrebutted evidence by the Plaintiffs experts, who utilized road-
show testimony and socioeconomic data to construct the plans, that there are
commonalities between the districts. Id. The Plaintiffs further identified the
desire by some voters to split Baton Rouge from New Orleans and the legis-
lative priority behind combining the rural communities of the Delta Parishes
with East Baton Rouge to protect the common agricultural interests of the
regions while strengthening “the voice” of the people. The Plaintiffs argue
this shows the illustrative plans united communities of common interest, like
in Milligan.
       The Supreme Court has recognized that urban and rural communities
can reasonably be configured into a compact district if they share similar in-
terests, they are in reasonably close proximity, and if the district is not obvi-
ously irregular and drawn into “bizarre shapes.” LULAC, 548 U.S. at 435;
Milligan, 599 U.S. at 19–21. Even if a region is a single community of interest,
there is no clear error in a district court’s determination that the illustrative
plans that focused on other, different, overlapping communities of interest
are valid; there is no need to conduct a “beauty contest” between the maps.
Milligan, 599 U.S. at 21.
       The parties’ arguments here are factual disputes as to whether the dis-
trict court should have found the illustrative maps reasonably configured.
The district court evaluated the evidence that described whether the maps




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protected communities of interest for 19 pages in its published opinion. Rob-
inson, 605 F. Supp. 3d at 778–97. Over another 9 pages, the court made cred-
ibility determinations on the experts and their evidence. Id. at 822–31. It
ultimately credited the Plaintiffs’ experts over the State’s, finding the latter’s
experts’ “analys[e]s lacked rigor and thoroughness,” “did not account for
all of the relevant redistricting principles,” and provided unhelpful conclu-
sions. Id. at 824–25 (quoting Anderson v. City of Bessemer City, 470 U.S. 564,
573 (1985)).
       We review a district court’s factual findings for clear error. Women’s
Med. Ctr., 248 F.3d at 419. Reversal requires us to be “left with [a] definite
and firm conviction” that the district court erred after reviewing the record.
Fordice, 252 F.3d at 365. We are left with no such a conviction. The district
court reviewed the evidence before it and made a factual finding as to what
the evidence showed, acknowledging throughout its decision the State’s
omission of contrary testimony. It concluded that the facts and evidence
demonstrated the Plaintiffs were substantially likely to prove the geographic
compactness of the minority population. Robinson, 605 F. Supp. 3d at 822.
       There was no clear error by the district court when it found the illus-
trative maps created a different community of interest and the first Gingles
precondition was met.
               B. Racial predominance versus racial gerrymandering.
       To refute the district court’s determination that the Plaintiffs’ satis-
fied the first Gingles precondition, the State “put all their eggs in the basket
of racial gerrymandering,” Robinson, 37 F.4th at 217, and “did not meaning-
fully refute or challenge [the] Plaintiffs’ evidence.” Robinson, 605 F. Supp.
3d at 823. How a party addresses an issue at the time that a preliminary in-
junction is being sought, particularly when a Supreme Court decision is later
handed down before the next stage of the proceedings, does not bind the




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party as the case moves along further. We do conclude, though, that the
State’s initial approach was largely rejected by Milligan.
       Impermissible racial gerrymandering can be found when a minority
population is compacted together and there is “no integrity in terms of tradi-
tional, neutral redistricting criteria.” Milligan, 599 U.S. at 28 (quotation
marks and citations omitted). Here, the Plaintiffs’ evidence of traditional re-
districting criteria went “largely uncontested.” Robinson, 37 F.4th at 218.
Like Alabama in Milligan, the State instead argues that the first Gingles pre-
condition cannot be established if race predominates the drawing of an illus-
trative plan in an effort to segregate the races for voting.
       The Supreme Court recognized “a difference ‘between being aware
of racial considerations and being motivated by them.’” Milligan, 599 U.S.
at 30 (quoting Miller v. Johnson, 515 U.S. 900, 916 (1995)). Awareness of race
is permissible, and redistricting will often require awareness of the de-
mographics of proposed districts. Id. This “race consciousness does not lead
inevitably to impermissible race discrimination” because Section 2 demands
such consideration. Id. (quotation marks and citations omitted). Awareness
becomes racial predominance when the district lines are drawn with the tra-
ditional, race-neutral districting criteria considered after the race-based deci-
sion is made. Id. This is admittedly a difficult distinction. Id. We review the
district court’s finding as to whether race predominated for clear error.
Cooper v. Harris, 581 U.S. 285, 298–99 (2017).
       The State argues the district court erred in finding that the Plaintiffs’
plans were not racially predominant configurations. The State relies on a Su-
preme Court racial affirmative action opinion that recognized distinctions be-
tween citizens solely based on their ancestry as inherently suspect. Students
for Fair Admissions, Inc. v. President & Fellows of Harvard Coll., 600 U.S. 181
(2023).




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       The Students for Fair Admissions decision concerned a very different
set of facts. Drawing a comparison between voting redistricting and affirma-
tive action occurring at Harvard is a tough analogy. The State contends that
the Plaintiffs agree predominance occurs when the map-drawer has a specific
racial target, and that target has a direct, significant impact on the district. It
argues this is exactly what the Plaintiff experts did when they admitted to
applying the Bartlett standard, i.e., seeking to create congressional districts in
which the minority population is greater than 50 percent. Bartlett, 556 U.S.
at 19–20.
       Certainly, the illustrative plans were designed with the goal of achiev-
ing a second majority-minority district of at least 50 percent BVAP, and the
Plaintiff mapmakers sought to satisfy this 50 percent standard when drawing
the new districts. The 2022 motions panel recognized and the Plaintiff ex-
pert testified that he was “specifically asked . . . to draw maps with two mi-
nority-majority districts.” Robinson, 37 F.4th at 222. The Plaintiffs contend,
though, that this was simply a consideration of race, not racial predominance.
The Supreme Court allows race-based redistricting in certain circumstances
as a remedy for state redistricting maps that violate Section 2. Milligan, 599
U.S. at 33, 41. The Plaintiffs argue this is one of those circumstances. As we
will explain, the purpose of illustrative maps is to illustrate that creating an-
other majority black district is possible, consistent with other requirements
under Section 2 caselaw.
       The Supreme Court has categorized some districts maps as being
drafted with race as the predominant factor. See Cooper, 581 U.S. at 300–01.
In Cooper, the Court found no clear error in the district court’s finding that
there had been “an announced racial target that subordinated other district-
ing criteria.” Id. at 300. Refusing to allow redistricting maps based on race
in any respect, though, would require Gingles to be overruled. Milligan, 599
U.S. at 30–33. The Supreme Court in Milligan held that expert testimony



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showing redistricting maps were designed to establish two majority-black dis-
tricts, like the testimony here, does not automatically constitute racial pre-
dominance. Id. at 32–33. Instead, an express racial target is just one consid-
eration in a traditional redistricting analysis under Gingles. Id. at 32.
       The Supreme Court also rejected that a “race-neutral benchmark”
must be used. Id. 23–24. The Court clarified that all illustrative redistricting
“maps [are] created with an express target in mind — they were created to
show, as our cases require, that an additional majority-minority district could
be drawn. That is the whole point of the [Gingles] enterprise.” Id. at 33.
Thus, the Plaintiffs’ mapmakers using the 50 percent BVAP as a factor when
drawing the illustrative maps for Louisiana was appropriate.
       The Plaintiffs experts testified to using the 50 percent threshold for
pulling the black population into the majority-minority district and to con-
sulting the racial data to determine the location of the black population for
the district location in the illustrative plans. The State contends this mirrors
Cooper, where district borders were moved to incorporate the large black pop-
ulation. The State further argues that racially coded maps presented in the
current record establish a consistent tracking of racial patterns by the illus-
trative plans. The higher, black-populated portions of the parishes were
moved from one district to another to create the majority-minority district
according to the State.
       The Plaintiffs contend their experts acted appropriately under Su-
preme Court precedent. The Court recognized that the “very reason a plain-
tiff adduces a map at the first step of Gingles is precisely because of its racial
composition” and to demonstrate that a majority-minority district is possi-
ble. Id. at 34 n.7. Attempting to reach the needed 50 percent threshold does
not automatically amount to racial gerrymandering, and Cooper does not say




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otherwise. Cooper did not address the first Gingles precondition at all, as its
focus was racial targeting. Cooper, 581 U.S. at 302 n.4.
        The district court mentioned that the State’s expert, who testified
there was racial predominance, conceded he could not say much about the
racial predominance being the intended result of the expert’s mapping deci-
sions as opposed to the segregation of the population. Robinson, 605 F. Supp.
3d at 824. The district court therefore found the expert’s reliability severely
undermined. Id. at 823–24. The Alabama district court also gave his similar
testimony in Milligan little weight. Milligan, 599 U.S. at 31–32. The Plaintiff
experts testified they did not subordinate other redistricting criteria to race.
Robinson, 37 F.4th at 223. Instead, their determinations and analysis were
based on the traditional factors like communities of interest, and race was
only considered “to the extent necessary” under Gingles. Id.; Robinson, 605
F. Supp. 3d at 827.
        The State attempts to equate an Equal Protection racial gerrymander-
ing claim to its Section 2 Voting Rights Act claim to overcome the racial
awareness that Gingles allows. “Racial gerrymandering is prohibited by the
Equal Protection Clause of the Fourteenth Amendment.” Robinson, 37 F.4th
at 222 (citations omitted). Racial consciousness as a factor in the drawing of
illustrative maps does not, however, defeat a Section 2 Gingles claim, which
is distinct from an Equal Protection racial gerrymander violation. Id. 4
        A racial gerrymander is present when citizens are assigned by the state
to legislative districts based on race, such that one district will have racially

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           The Equal Protection Clause of the Fourteenth Amendment can only be violated
when there is state action. U.S. Const. amend. XIV, § 1. Although the Plaintiffs’
illustrative maps were not state action and do not constitute an Equal Protection violation,
a legislatively enacted map would be subject to Equal Protection review. Robinson, 605 F.
Supp. at 836. Thus, we discuss the Equal Protection implications.




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similar individuals who otherwise have little in common geographically or po-
litically. Id. The Supreme Court has implemented a high bar to racial gerry-
mander challenges, requiring a showing of racial predominance such that tra-
ditional redistricting criteria are subordinate to the racial consideration. Id.
We find that this high bar was not met on this record. Rather, race was
properly considered by the Plaintiff experts when drawing their several illus-
trative maps. The target of reaching a 50 percent BVAP was considered
alongside and subordinate to the other race-neutral traditional redistricting
criteria Gingles requires. The Plaintiff experts considered communities of in-
terest, political subdivisions, parish lines, culture, religion, etc. Id. at 219–23.
       The district court did not clearly err in its factual findings that the il-
lustrative maps were not racial gerrymanders.
               C. The third Gingles precondition.
       The third Gingles precondition focuses on racially polarized voting; it
requires establishing the plausibility that the challenged legislative districting
thwarts minority voting on account of race. Milligan, 599 U.S. at 19. This
precondition requires proof that white bloc voting “can generally minimize
or cancel black voters’ ability to elect” their preferred candidate. Gingles,
478 U.S. at 56. The question is not whether white bloc voting is present, but
whether such bloc voting in a given district amounts to legally significant ra-
cially polarized voting. Id.; Clements, 999 F.2d at 850.
       The State contends this precondition also requires proof that a white
voting bloc will normally defeat a combined minority vote and white “cross-
over” voting. A white crossover district is created where enough white vot-
ers join minority voters to elect the minority-preferred candidate. Bartlett,
556 U.S. at 16. In other words, the BVAP is less than 50 percent but large
enough to elect the candidate of its choice with white voters’ help. Id. at 24.
The Supreme Court has recognized that “a white bloc vote that normally will




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defeat the combined strength of minority support plus white ‘crossover’
votes rises to the level of legally significant white bloc voting.” Gingles, 478
U.S. at 56. The State argues, however, the Plaintiffs presented evidence of
statistical significance rather than legal significance.
       The State argued, and the district court accepted, that there is a dif-
ference between legally significant and statistically significant racially polar-
ized voting. Robinson, 605 F. Supp. 3d at 842–44. Such a distinction was
made by a district court when examining legislative redistricting. Covington
v. North Carolina, 316 F.R.D. 117, 170 (M.D.N.C. 2016), summary aff’d, 581
U.S. 1015 (2017). We also find the concept in Gingles, where the court ques-
tioned the statistical evidence that voters of different races select different
candidates, and whether that evidence was “substantively significant.” Gin-
gles, 478 U.S. at 53. The Court then examined the standard for “legally sig-
nificant racial bloc voting.” Id. at 55. It stated that “[t]he purpose of inquir-
ing into the existence of racially polarized voting is twofold: to ascertain
whether minority group members constitute a politically cohesive unit and to
determine whether whites vote sufficiently as a bloc usually to defeat the mi-
nority's preferred candidates.” Id. at 56.
        The State argues the third Gingles precondition cannot be satisfied in
the relevant geographical areas because there is sufficient white crossover
voting. The Plaintiffs experts testified that effective crossover voting could
exist because a different district than the Legislature drew could be drawn
with less than 50 percent BVAP and still allow for a minority-preferred can-
didate to be elected. The experts did not testify that the legislative plan
would allow sufficient cross-over voting. All Plaintiff experts saw a possibil-
ity that districts could be drawn below the required BVAP when combined
with sufficiently high levels of white crossover voting. The State contends
that an effective crossover district with a BVAP less than 50 percent, like
those testified to by the Plaintiff experts, which “could perform [is]



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tantamount to a concession that white bloc voting is not legally significant.”
The State argues this is an admission that no remedy is necessary and that
the third Gingles precondition could not be satisfied.
       The district court did not state that crossover voting was irrelevant. It
explained that such voting was inherently included in the Plaintiffs experts’
analyses. Robinson, 605 F. Supp. 3d at 843. The 2022 motions panel of this
court explained that the district court correctly relied on the experts to ex-
plain the level of crossover voting. Robinson, 37 F.4th at 225. Regardless, the
State argues the possibility of effective white crossover districts means (1) the
third Gingles precondition cannot be established, (2) two majority-minority
districts are unnecessary for black voters to elect their preferred candidates,
(3) Louisiana is barred from drawing one, and (4) it would be unlawful to re-
quire the Louisiana Legislature to enact a second majority-minority district.
       The Plaintiffs are correct that this argument focuses on the wrong
plan. Rather than follow Supreme Court precedent that requires sufficient
crossover voting in the Legislature’s plan — and no such evidence existed
here — the State focused on the possibility of creating new districts with
crossover voting. The relevant consideration under the third Gingles precon-
dition is the challenged plan, not some hypothetical crossover district that
could have been but was not drawn by the Legislature. Robinson II, 37 F.4th
at 226. The third Gingles precondition’s purpose is to establish that the chal-
lenged district thwarts a distinctive minority vote. Milligan, 599 U.S. at 19.
While the illustrative plans do have the potential to allow for the minority-
preferred candidates to be elected with less than a 50 percent BVAP, the leg-
islative plan did not. Robinson I, 605 F. Supp. at 841–42. The record estab-
lishes that minority-preferred candidates will usually fail in Louisiana with-
out a different district configuration.




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       Bartlett established the 50 percent BVAP threshold for the first Gin-
gles precondition, but it did not change the third precondition analysis. Bart-
lett, 556 U.S. at 6, 12, 16. Illustrative districts that could perform with a
BVAP of less than 50 percent with white crossover voting are not the focus
of the third Gingles precondition analysis. The proper question to ask is this:
“If the state’s districting plan takes effect, will the voting behavior of the
white majority cause the relevant minority group’s preferred candidate ‘usu-
ally to be defeated’?” Robinson, 37 F.4th at 224 (citing Covington, 316 F.R.D.
at 171). The district court’s factual findings confirmed the answer under the
2022 state-enacted plan — not the hypothetical districts — would be “yes”
because the experts examined the data and concluded that white voters con-
sistently vote to defeat minority-preferred candidates. Robinson, 605 F.
Supp. 3d at 842–43. This is the proper analysis.
       The Supreme Court examined similar evidence of racially polarized
voting under the third Gingles precondition in Milligan. 599 U.S. at 22. The
Court analyzed a white crossover voting percentage of 15.4, id., and, here, the
district court analyzed a range of 11.7 percent to 20.8 percent. Robinson, 605
F. Supp. at 842. The Supreme Court agreed with the Alabama district
court’s factual determination that the third Gingles precondition was met de-
spite the crossover percentage. Milligan, 599 U.S. at 22–23.
       The State argues the district court applied the wrong legal standard by
finding the white crossover information irrelevant, but, as we have discussed,
the district court did no such thing. Rather, it focused on expert testimony
that included an analysis of crossover voting. Effective crossover voting can
be evidence of diminished bloc voting under the third Gingles precondition.
Bartlett, 556 U.S. at 16–17. The analysis, however, of whether white crosso-
ver voting undermines the potential of electing minority-preferred candi-
dates is properly determined under the first Gingles precondition, not the
third. Id. at 16–20. It dictates the answer to the question of whether a



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minority makes up a sufficient BVAP in the relevant geographic area, not
solely whether white bloc voting is legally significant. Id.
       We conclude that Bartlett’s discussion of crossover voting and how a
Section 2 violation will generally not be found if effective crossover voting is
present was limited to the first Gingles precondition analysis. The district
court’s factual determination that a white crossover voting range of 11.7 per-
cent to 20.8 percent can satisfy the third Gingles precondition aligns with Mil-
ligan. We find no clear error in the district court’s determination about cross-
over voting and move to the totality of the circumstances analysis.
               D. Totality of the circumstances & proportionality.
       The State’s final argument that the district court erred in its Gingles
analysis is its consideration of racial proportionality as a factor. Once the
Gingles preconditions are achieved, Section 2 liability is determined based on
the totality of the circumstances. Milligan, 599 U.S. at 26. This requires ap-
plication of the Gingles analysis specifically to the facts of each case and the
state electoral mechanism while also considering the Zimmer factors as a
guide. Id. at 19; Clements, 999 F.2d at 849.
       While not dispositive, one relevant Zimmer factor is proportionality.
Johnson, 512 U.S. at 1000. “[W]hether the number of districts in which the
minority group forms an effective majority is roughly proportional to its share
of the population in the relevant area” is a “relevant consideration” for
courts to make. LULAC, 548 U.S. at 426. “The Gingles framework itself
imposes meaningful constraints on proportionality,” and “[f]orcing propor-
tional representation is unlawful and inconsistent with” Section 2. Milligan,
599 U.S. at 26, 28. The Supreme Court has repeatedly “rejected districting
plans that would bring States closer to proportionality when those plans vio-
late traditional districting criteria.” Id. at 29 n.4.




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       The State contends the Supreme Court in Milligan found no constitu-
tional or Section 2 concerns because the proportional representation had
been rejected as a factor. The State argues the opposite occurred here: the
district court read a proportionality requirement into Gingles.
       The Plaintiffs did emphasize that the black population is one-third of
Louisiana’s residential population, yet it has only one out of six opportunities
to elect their preferred candidates. The district court, according to the State,
“adopted this line of argument” and held that the black representation was
not proportional to the black population. The State argues this holding will
amount to unlawful, forced proportional representation, which cannot be the
basis for Section 2 relief.
       The Plaintiffs assert the district court was not forcing proportional
representation but was weighing proportionality in the totality of the circum-
stances required under Gingles. The district court identified the dispropor-
tional representation, weighing it in favor of the Plaintiffs throughout its anal-
ysis. Robinson, 605 F. Supp. 3d at 851. The Plaintiffs contend there was no
forced racial proportionality, and argue Milligan rejected the same argument
that an additional majority-minority district inevitably demands proportion-
ality. See Milligan, 599 U.S. at 26. The Supreme Court determined that if a
proper Gingles analysis results in proportional representation — like here and
in Milligan — the plan is not automatically invalid or clearly erroneous. See
id. at 26–30.
       The district court considered proportionality only in its Zimmer-fac-
tors analysis. Robinson, 605 F. Supp. 3d at 844–51. The court did not require
proportionality but considered it along with the other factors in examining
the totality of circumstances. Id. at 771. The court recognized there is no
right to proportional representation. Id. at 851. Instead, proportionality is a
relevant consideration and indication of equal opportunity voting, which it




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found relevant to this case. Id. The district court determined the black rep-
resentation was not proportional to the black population, and this factor
weighed in favor of the Plaintiffs. Id.
       The Supreme Court has held that proportionality cannot be at the ex-
pense of “integrity in terms of traditional, neutral redistricting criteria.” Mil-
ligan, 599 U.S. at 28 (citations omitted). Here, the district court analyzed
proportionality as a factor among other redistricting criteria. Robinson, 605
F. Supp. 3d at 851. The district court found “that the proportionality consid-
eration weighs in favor of Plaintiffs” and that “the totality of the circum-
stances weighs in favor of Plaintiffs.” Id. (emphasis added).
       We agree with the 2022 motions panel that the Plaintiffs’ arguments
“are not without weaknesses,” Robinson, 37 F.4th at 215, and Plaintiffs’ anal-
ysis is not “entirely watertight.” Id. at 232. There is nothing unusual about
weaknesses, even in arguments of a successful party. This appeal, however,
primarily disputes factual findings that are not clearly erroneous.
       The district court spent 39 pages in the published opinion discussing
the evidence presented and expert testimony heard during its five-day evi-
dentiary hearing, Robinson, 605 F. Supp. 3d at 778–817, and 41 pages analyz-
ing those facts and legal authority. Id. at 817–858. The district court came to
the same conclusion as the Alabama district court that was affirmed in Milli-
gan, based on “essentially the same” record and arguments.
       The Supreme Court’s Milligan opinion may require the State here to
adjust its arguments as the case moves to its next phase. We conclude the
emphasis so far has been on the supposed invalidity of any consideration of
race and a rejection of the Gingles approach. The Milligan opinion refused to
accept such arguments. Among the similar arguments in Milligan and here is
that the plaintiffs’ illustrative maps were unreasonably configured due to
their division of a cognizable community population into two different




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districts; the district court should have judged the enacted map against a
race-neutral benchmark calculated by a computer-simulated map; the possi-
bility of drawing a majority-minority district does not require the drawing of
the district; and the district court’s application of Section 2 encourages racial
gerrymandering since the Plaintiffs incorporate race into their illustrative
plans. Milligan, 599 U.S. 1. Most of the arguments the State made here were
addressed and rejected by the Supreme Court in Milligan.
           The district court’s preliminary injunction, like the one issued by Al-
abama, was valid when it was issued. Now, almost 17 months later, we need
to consider whether the preliminary injunction is still needed.
    III.      The balance of equities and mootness of the preliminary injunction.
           The State disputes the balance the district court struck in the equities
of the case, arguing that a preliminary injunction was not the proper remedy
because it did not simply preserve the status quo. Unfortunately for that ar-
gument, the Supreme Court approved a similar preliminary injunction in Mil-
ligan. Id.
           The State’s initial concern with the preliminary injunction was that it
was issued too close to the election. See Purcell, 549 U.S. 1. Both this court
and the Supreme Court have applied the Purcell principle against changing
state election rules when staying injunctions that threaten voter confusion
and chaos so near an election. Robinson, 37 F.4th at 228–29.
           Purcell stayed an election 29 days prior to an election, and the Supreme
Court has stayed injunctions five days, 33 days, 60 days, and less than four
months before an election. Id. at 229 (citations omitted). Here, the injunc-
tion was implemented more than five months prior to the election and more
than four months prior to early voting registration. It is not “an injunction
entered days or weeks before an election — when the election is already un-
derway,” which would require a Purcell stay. Id. at 228.




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       The district court recognized that even the State acknowledged the
injunction deadline would present no difficulties for Louisiana’s election cal-
endar, and the deadlines that impact voters were not until October. Robinson,
605 F. Supp. 3d at 854 (citing Petition for Injunction and Declaratory Relief,
Bullman v. Ardoin, No. C–716690, 2022 WL 769848 (La. Dist. Ct. Mar. 10,
2022) (the pending state court petition regarding the same issue)). Further,
Secretary Ardoin’s counsel stated that “Louisiana does not have a hard dead-
line for redistricting,” and the election code can be amended if necessary. Id.
at 854–55.
       We agree that Purcell did not bar the preliminary injunction nor re-
quire it to be stayed.
       Where are we now, though? The reasons for urgency in the district
court’s 2022 preliminary injunction are gone. The district court issued the
injunction after determining the Plaintiffs were likely to suffer irreparable
harm under the enacted redistricting plan. Robinson, 605 F. Supp. 3d at 851–
52. It further concluded that, if the 2022 elections were “conducted under a
map which has been shown to dilute Plaintiffs’ votes, Plaintiffs’ injury will
persist unless the map is changed for 2024.” Id. at 852. None of that applies
now, though there are new deadlines on the somewhat distant horizon.
       The State would have the preliminary injunction declared moot. To
avoid mootness, “the controversy posed by the plaintiff’s complaint [must]
be live . . . throughout the litigation process.” Rocky v. King, 900 F.2d 864,
866 (5th Cir. 1990). “Mootness is a jurisdictional question” that must be
resolved prior to a federal court having jurisdiction. North Carolina v. Rice,
404 U.S. 244, 246 (1971) (citations omitted).
       The Supreme Court’s affirmance of the Alabama district court’s al-
most identical preliminary injunction six months after the affected election
might be useful precedent, but the Court did not address the possibility of




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mootness. Milligan, 599 U.S. 1. The irreparable harm articulated by both the
Alabama district court and this district court is that forcing black voters to
vote under a map that likely violates Section 2 is a continuing and live injury,
despite the loss of some of the urgency. Merrill, 582 F. Supp. 3d at 1026–27;
Robinson, 605 F. Supp. 3d at 851–52. Both district courts made factual find-
ings that the plaintiffs would have ongoing and irreparable harm that will per-
sist unless the map is changed. Id. That harm is still present, but a trial can
likely occur prior to harm occurring in the 2024 elections.
       We conclude that a preliminary injunction is no longer needed to pre-
vent an irreparable injury from occurring before said trial. Our conclusion
comes from the balance of the equities no longer weighing in favor of the
Plaintiffs. Once an “election occurs, there can be no do-overs and no re-
dress” for voters whose votes were diluted. League of Women Voters of N.C.
v. North Carolina, 769 F.3d 224, 247 (4th Cir. 2014). Like the Alabama vot-
ers, “[t]he Plaintiffs already suffered this irreparable injury . . . when they
voted in 2022 under the unlawful” plan. Singleton v. Allen, 2:21-CV-1291-
AMM, 2023 WL 6567895, at *18 (N.D. Ala. Oct. 5, 2023). The Louisiana
elections are on a more lenient time schedule than Alabama’s. Both general
elections are more than 13 months away, but Alabama’s qualifying deadline
to participate in the 2024 elections is in November 2023. Id.; Ala. Code § 17–
13–5(a).
       For the 2024 Louisiana elections calendar, though, there is no immi-
nent deadline. The qualifying deadlines are not until July 2024, so a prelim-
inary injunction, which is an extraordinary remedy, is no longer required to
prevent the alleged elections violation. We therefore vacate the preliminary
injunction, even though the underlying controversy is not moot.




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       IV. The role of the Louisiana Legislature.
       There is not much time before initial deadlines for the next congres-
sional election cycle are visible. Nonetheless, we have weighed carefully one
of the arguments the State made at the Supreme Court in defending the man-
damus ruling by this court. It was a complaint that the district court had not
“afforded the legislature with a meaningful opportunity” to prepare a reme-
dial plan. Resp. to Emergency Appl. for Stay of Writ of Mandamus at 15,
Galmon v. Ardoin, No. 23A282 (U.S. filed Sept. 30, 2023). The State
acknowledged the Louisiana Legislature would not likely act “while seeking
to demonstrate that the district court was wrong to conclude that the Plain-
tiffs’ are entitled to a remedy.” Id. at 16. The Plaintiffs’ reply to that argu-
ment was to insist the Legislature clearly stated it did not want to reconsider
its map. It quoted House Speaker Clay Schexnayder as saying a new session
was “unnecessary and premature until the legal process is played out in the
court systems.” Reply Br. in Supp. of Emergency Appl. for Stay of Writ of
Mandamus at 3, Galmon v. Ardoin, No. 23A282 (U.S. filed Oct. 11, 2023).
       The State’s argument to the Supreme Court, though, was in the con-
text of upholding the mandamus that prevented another hearing on the pre-
liminary injunction. We do not interpret the State to have declared that after
this court made a decision on the appeal from the preliminary injunction —
that decision is made today — the Louisiana Legislature would not want to
consider acting.
       We cannot conclude on this record that the Legislature would not take
advantage of an opportunity to consider a new map now that we have af-
firmed the district court’s conclusion that the Plaintiffs have a likelihood of
success on the merits. Federalism concerns are heightened in the present
context: “even after a federal court has found a districting plan unconstitu-
tional, ‘redistricting and reapportioning legislative bodies is a legislative task




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which the federal courts should make every effort not to preempt.’” McDan-
iel v. Sanchez, 452 U.S. 130, 150 n.30 (1981) (quoting Wise v. Lipscomb, 437
U.S. 535, 539 (1978) (opinion of White, J.)).
       The Court’s continuous urging of caution convinces us to allow the
Louisiana Legislature until January 15, 2024, to enact a new congressional
redistricting plan. The State has not formally requested that opportunity, so
we direct counsel for the defendant state officials to inform the district court
if they become aware that no special session of the Legislature will be called
for this purpose or, if called, it becomes clear no new map will be approved.
We anticipate that counsel for the defendant state officials, as officers of the
court, will act in good faith and inform the district court of either as soon as
possible.
                               CONCLUSION
       The district court is to conduct no substantive proceedings until the
earliest of (1) the completion of legislative action, (2) notice indicating the
Legislature will not create new districts, or (3) January 15, 2024. Should the
Legislature be considering adopting a new map at that deadline, the district
court has discretion to provide modest additional time, though not of such
length as to prevent the district court from timely completing its work. The
district court is not prevented by our opinion from conducting proceedings
to schedule future proceedings. This court’s panel that ruled on the manda-
mus directed further scheduling in the case had to be “pursuant to the prin-
ciples enunciated herein.” In re Landry, 83 F.4th at 308. We wish to avoid
potential confusion from directives from two panels of our court if any differ-
ences are perceived, though we see none. Future district court scheduling
needs to follow only the guidance established in this opinion.
       If the Legislature adopts a new districting plan and it becomes effec-
tive, then that map will be subject to any potential new challenges. If no new




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plan is adopted, then the district court is to conduct a trial and any other nec-
essary proceedings to decide the validity of the H.B. 1 map, and, if necessary,
to adopt a different districting plan for the 2024 elections. The parties can
advise the district court as to the necessary timing for completion of such a
trial, with allowance for the time for appellate review.
       Preliminary injunction VACATED and cause REMANDED to
district court for proceedings consistent with this opinion.




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